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          EXHIBIT 34
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 DONNA CURLING, et al.,                    :
                                           :
       Plaintiffs,                         :
                                           :
 v.                                        :        CIVIL ACTION NO.
                                           :        1:17-cv-2989-AT
                                           :
 BRAD RAFFENSPERGER, et al.,               :
                                           :
       Defendants.                         :


                            OPINION AND ORDER

      This case requires the Court to consider whether Georgia’s practices and

procedures for administering voter access to the ballot at the polls

unconstitutionally impact the voting process and unduly burden the exercise of

qualified citizens to choose their elected representatives. The relief that the

Coalition Plaintiffs seek here is a limited common sense remedy to the real and

repetitive voting impediments Plaintiffs have experienced at the precinct threshold

and the substantial threat that they will face from these impediments anew in the

2020 general election if preliminary injunctive relief is not granted.

      In tandem with the Plaintiffs’ motions for injunctive relief seeking to bar the

State of Georgia from requiring the use of electronic ballot marking devices

(BMDs) for all in-person voters on election day, the Coalition Plaintiffs have filed

a stand-alone Motion for Preliminary Injunction on Paper Pollbook Backups [Doc.
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       The voter registration database, ENET, which is used by county registrars to

maintain and update voter registration records and determine ballot precinct

information was not replaced with the adoption of the new Dominion BMD

election system. As described by Mr. Harvey, voter information from the existing

ENET system is loaded into the new electronic pollbooks for each election.

(Harvey Decl., Doc. 815-1 ¶ 12.)11 Other than a switch to the new KnowInk PollPad

electronic pollbooks, Defendants have offered nothing to indicate concretely any

action taken in response to issues experienced by voters in November 2018 and

more recent elections to ensure that the information from ENET and the operation

of the electronic pollbooks is reliable, accurate, and updated.

       Plaintiffs submitted a volume of evidence of the impact of these issues on

voters’ ability to cast votes, as detailed in the Court’s August 2019 Order, and more

recently in the BMD pilot elections and the 2020 primary elections. In connection



11 Defendants contend, and offer the declaration of Dr. Eric Coomer of Dominion, that information

from ENET is not electronically transmitted, and therefore cannot corrupt the new pollbook
system, because only a flat text file from ENET (that will be run through a security scan) will be
loaded into the pollpads for use during elections. This contention appears to be in conflict with
other evidence regarding the operation of the KnowInk pollbooks via WiFi and Harvey’s
statement in his declaration that “[e]lectronic pollbooks allow counties to receive updated
information from the electors list after the close of early voting during the three days prior to
Election Day,” and the information in Dominion’s public contract documents about the capacity
of the KnowInk pollbooks to receive up to the minute voter information on election day. As a
prime example, the Secretary of State’s summary report of the November 5, 2019 pilot elections
reports that “Some Poll Pads were not able to produce Voter Cards to activate the BMDs . . . The
issue was discovered upon the opening of the polls and was reported from Bartow, Carroll, Cobb,
and Paulding by approximately 7:20 am . . . By 7:40 am the SOS office directed that KnowInk and
Dominion do a universal fix by loading the dataset through a WiFi connection. That was executed
and the Poll Pads then began to function properly by approximately 8:20 am.” (Doc. 675-1 at 4.)
Plaintiffs have offered testimony of cybersecurity experts to rebut the State’s assertion that the
other two voter registration systems, the My Voter Page (MVP) and the Online Voter Registration
system, do not interface with ENET.

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connections.    Peterson also received a Dominion manual which contained

troubleshooting steps. According to Peterson, the field technicians were advised

as part of their training that they were not permitted to touch the equipment at the

polls during the election.

      On August 11, 2020, Peterson was assigned to a precinct at New Beginnings

United Methodist Church in Kennesaw, Cobb County. Peterson assisted with

assembly of the PollPads as none of the poll workers seemed familiar with setting

up the equipment. When the polls opened, only seven out of the ten BMDs were

working, three of them would not turn on. Peterson was surprised he had not been

asked to assist in troubleshooting the issue. By 9:30 a.m., technical issues had

caused two more BMDs to become inoperable and one BMD printer was jammed.

Because Peterson was not permitted to touch the equipment, poll workers had to

wait for a Dominion technician.

      In   sum,    the   Coalition   Plaintiffs   presented    compelling    evidence

demonstrating that the PollPads failed to perform many of their critical functions

during the 2019 pilot elections, the June 2020 primary election, and again in the

August 2020 runoff election. These include failing to read driver’s license barcodes

to verify registration status during voter check-in, failing to record voter signatures

upon check-in resulting in poll workers having to resort to manual processes,

failing to accurately report if a voter has voted previously, and failing to encode

ballot access cards to allow voters to cast ballots on the BMDs. As a result, voters

waited for hours because of delays and malfunctions with the operation of the

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PollPads. In many instances of such bottlenecks created by operational problems

with the PollPads, poll workers did not use paper pollbooks as a backup to aid voter

check-in and facilitate voting. Many voters were required to use provisional

ballots, and in some instances, those ballots were rejected without explanation

from election officials.

      D.     Injunctive Relief Factors

      In determining whether Plaintiffs have established a substantial likelihood

of prevailing on the merits of their claim related to the paper pollbook backup, the

Court must first “consider the character and magnitude of the asserted injury to

the rights protected by the First and Fourteenth Amendment.” Anderson v.

Celebrezze, 460 U.S. at 789. Although Coalition Plaintiffs do not characterize the

magnitude of the burden on their constitutional rights explicitly in their pollbook

motion, they assert that that the undisputed evidence shows that using unreliable

and unsecure electronic pollbooks without an updated paper backup

disenfranchises voters. And Plaintiffs have vigorously advocated the need for such

relief in these proceedings, dating back at least to the July 2019 preliminary

injunction hearing and then again, in additional questions following the Court’s

issuance of the Order of August 15, 2019, asking the Court to substitute the

requirement of provision of pollbooks in place of the less helpful voter registration

lists as a backup during voting. (See, e.g., Plaintiffs’ Rule 59(e) Motion, Doc. 605;

Order, Doc. 636.) The Court in its later conferences with counsel encouraged the

State Defendants’ counsel to cooperate in addressing this issue.

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       “The right to vote freely for the candidate of one’s choice is of the essence of

a democratic society, and any restrictions on that right strike at the heart of

representative government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964); Wexler

v. Anderson, 452 F.3d 1226, 1232 (11th Cir. 2006) (“The right to vote is

fundamental, forming the bedrock of our democracy.”). Voting is, indisputably, a

right “‘of the most fundamental significance under our constitutional structure.’”

Burdick, 504 U.S. at 433 (quoting Illinois Bd. of Elections v. Socialist Workers

Party, 440 U.S. 173, 184 (1979)). The right to vote includes “the right of qualified

voters within a state to cast their ballots and have them counted.” United States v.

Classic, 313 U.S. 299, 315 (1941). State and local laws that unconstitutionally

burden that right are impermissible. Wash. State Grange v. Wash. State

Republican Party, 552 U.S. 442, 451 (2008).

      Building on the foundation of evidence from the prior injunction motions,

Plaintiffs have presented additional evidence in connection with the State’s new

voting system and inaccuracy problems in its legacy ENET voter registration

database. Plaintiffs’ new evidence indicates that the State has yet to work out the

host of bugs afflicting its implementation of an entirely new electronic voting

system, and along with its contractor, has adopted measures that jeopardize the

security of the voter check-in system, including disabling the default password

protection of the PollPads and allowing the PollPads to operate on an unreliable

and unsecure WiFi connection to transfer sensitive voter data.              Plaintiffs’

declaration testimony establishes that the threshold bottleneck during voter

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check-in significantly has contributed to long lines and waiting periods of hours

(far greater than 30 minutes) and caused voters to leave and be deterred from

voting. This evidence combined with issues related to the power supply limitations

at multiple polling places (causing equipment shutdowns), repeated issues with

the operation of the PollPads and BMDs themselves, and ineffective or nonexistent

“non-technical” backup systems in place has led to a severe burden on the rights of

voters.

       This Court previously held that “[i]f voters’ capacity to cast votes are

thwarted through an inaccurate express pollbook voting check-in or voter website,

this burdens their right to cast votes, scrambles election day voting procedures,

and ultimately, in turn affects voting results.” (August 15, 2019 Order, Doc. 579 at

89-90.) The totality of the evidence presented in connection with the elections

conducted thus far on the State’s new system provides no indication that the

circumstances facing voters described above will be better in the November

Presidential election. The imminent harm faced by Plaintiffs and other Georgia

electors is of a constitutional magnitude.19 See Democratic Exec. Comm. of Florida


19 In addition to the burdens faced by the individual Coalition member Plaintiffs, the Coalition

has a protected interest in pursuing its organizational goals of preserving and advancing the
constitutional liberties and individual rights of citizens, with an emphasis on preserving and
protecting the rights of its members that are exercised through public elections without having to
divert resources and personnel to counteract Defendants’ challenged actions. (See Coalition Pls.’
Suppl. Compl. ¶ 214; Third Am. Compl. ¶ 140-141.) See Georgia Coalition for People’s Agenda,
Inc. v. Kemp, 347 F.Supp.3d 1251, 1268 (N.D. Ga. 2018) (finding that “Plaintiffs, as an
organization, will also suffer irreparable injury distinct from the injuries of eligible voters.
Without an injunction to address the citizenship verification procedure, Plaintiffs’ organizational
missions, including registration and mobilization efforts, will continue to be frustrated and
organization resources will be diverted to assist with the citizenship mismatch issue. Such


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protecting voters’ constitutionally protected ability and right to cast a ballot that is

counted and given the same weight as any other on this coming November 3rd

general election day and thereafter.31 It is not too late for Defendants to take these

reasonable concrete measures to mitigate the real potential harms that would

otherwise likely transpire at precinct polling locations grappling with the boiling

brew created by the combination of new voting equipment issues and old voter

data system deficiencies.


        IT IS SO ORDERED this 28th day of September, 2020.


                                              ____________________________
                                              Honorable Amy Totenberg
                                              United States District Judge




31 This relief is also consistent with the advice of the Department of Homeland Security. As
reported by the New York Times in an article yesterday, Christopher Krebs, who runs the
Cybersecurity and Infrastructure Security Agency for the Department of Homeland Security
“noted that the agency [i]s trying to make sure local election officials printed out their electronic
poll books, which are used to check in voters, so that they ha[ve] a backup.” Nicole Perlroth and
David E. Sanger, Ransomware Attacks Take on New Urgency Ahead of Vote, The New York Times,
September 27, 2020, available at https://www.nytimes.com/2020/09/27/technology/2020-
election-security-threats.html?referringSource=articleShare.

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